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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 LITTLE ROCK DIVISION

IN RE:        JERRY WHITLEY, DEBTOR                                     CASE NO. 13-15983
                                                                               Chapter 7


RICHARD L. COX, TRUSTEE                                                          PLAINTIFF

VS.                  ADVERSARY PROCEEDING NO.: 4:15-ap-01089

JOHN DOES I THROUGH IV                                                       DEFENDANTS



                    ORDER DISMISSING ADVERSARY PROCEEDING



       Before the Court is Plaintiff’s Motion to Dismiss Adversary Proceeding filed on August

30, 2017, from which the Court finds that the issues in this adversary proceeding are now moot

such that Plaintiff’s Complaint should be dismissed with prejudice.

       IT IS SO ORDERED AND GRANTED.

                      29 2017.
       Dated December ___,


                                            HONORABLE RICHARD D. TAYLOR,
                                            UNITED STATES BANKRUPTCY JUDGE




                                                                                    PAGE 1 OF 1
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              EOD: December 29, 2017
